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 4
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 5   HELIX ENVIRONMENTAL PLANNING, INC.
 6
 7
 8
                        UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10
                                         '18CV2000 AJB NLS
11
       HELIX ENVIRONMENTAL               COMPLAINT FOR:
12     PLANNING, INC. a California       (1) SERVICE MARK INFRINGEMENT
13
       Corporation,                          (15 U.S.C. § 1114);
                                         (2) SERVICE MARK AND TRADE
14                    Plaintiff,             NAME INFRINGEMENT, UNFAIR
15                                           COMPETITION, PASSING OFF,
          vs.                                AND FALSE DESIGNATION OF
16                                           ORIGIN,
17     HELIX ENVIRONMENTAL                   (15 U.S.C. § 1125(a));
       AND STRATEGIC                     (3) CYBERSQUATTING (15 U.S.C. §
18
       SOLUTIONS, a California               1125(d));
19     Corporation,                      (4) UNFAIR, UNLAWFUL, AND
20                                           DECEPTIVE BUSINESS
                      Defendant.             PRACTICES IN VIOLATION OF
21                                           CAL. BUS. & PROF. CODE § 17200
22                                           ET SEQ.; and
                                         (5) SERVICE MARK AND TRADE
23
                                             NAME INFRINGEMENT, AND
24                                           UNFAIR COMPETITION IN
25
                                             VIOLATION OF CALIFORNIA
                                             COMMON LAW.
26
27                                       DEMAND FOR JURY TRIAL
28
     COMPLAINT FOR SERVICE MARK
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 1         Plaintiff, HELIX ENVIRONMENTAL PLANNING, INC., by and through
 2   its counsel, alleges as follows:
 3                                      THE PARTIES
 4         1.     Plaintiff HELIX ENVIRONMENTAL PLANNING, INC.
 5   (hereinafter “PLAINTIFF” or “HELIX ENVIRONMENTAL PLANNING”) is a
 6   California corporation and having its principal corporate office at 7578 El Cajon
 7   Boulevard, La Mesa, California 91942.
 8         2.     Defendant HELIX ENVIRONMENTAL AND STRATEGIC
 9   SOLUTIONS (hereinafter “DEFENDANT” or “HELIX ENVIRONMENTAL
10   AND STRATEGIC SOLUTIONS”) is a California corporation, having its
11   principal corporate office at 19360 Rinaldi Street, Porter Ranch, California 91326.
12         3.     The true names and capacities, whether individual, corporate,
13   associate, or otherwise, of defendant DOES 1 through 20, inclusive, are unknown
14   to PLAINTIFF, who therefore sues said defendants by such fictitious names. Any
15   reference in this Complaint to the actions or inactions of any defendant, whether
16   such reference is made to such defendant by specific name or otherwise, is also a
17   reference to the actions or inactions of DOES 1 through 20, inclusive.
18                            JURISDICTION AND VENUE
19         4.     The Court has subject matter jurisdiction over this action under
20   Sections 1331 (federal question jurisdiction), 1338(a) and 1338(b) (trademark
21   infringement and unfair competition), and 1367(a) (supplemental jurisdiction over
22   claims arising under California’s statutory and common laws) of the United States
23   Code, 28 U.S.C. §§ 1331, 1338(a), 1338(b), and 1367(a), and under 15 U.S.C. §§
24   1114, 1117, 1125(a) and 1125(d).
25         5.     Upon information and belief, the Court has personal jurisdiction over
26   DEFENDANT because DEFENDANT either resides in California or does
27   business in California. In addition, the claims alleged herein arise from
28
     COMPLAINT FOR SERVICE MARK
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 1   DEFENDANT’s acts in the State of California including the County of San
 2   Diego, and which have caused damage to PLAINTIFF in the state of California.
 3         6.     Upon information and belief, Defendant advertises and performs
 4   services within San Diego County, and thus venue is proper in this judicial district
 5   under Sections 1391(b)(1) through 1391(b)(3) of the United States Code, 28
 6   U.S.C. §§ 1391(b)(1) and 1391(b)(2).
 7
 8                                   BACKGROUND
 9              PLAINTIFF’S “HELIX ENVIRONMENTAL PLANNING”
10                            Service Mark and Trade Name
11
12         7.     PLAINTIFF is a company that specializes in providing high-quality
13   environmental consulting services to private and public clients. PLAINTIFF is
14   well recognized today by the trade and public as a provider of a broad range of
15   environmental compliance services through California and the western United
16   States.
17         8.     On October 7, 1991, PLAINTIFF began using the HELIX
18   ENVIRONMENTAL PLANNING service mark and trade name in commerce in
19   connection with providing its services, including business consulting in the field
20   of environmental management, namely, advising businesses and individuals in
21   issues of environmental impact, conservation, preservation and protection, and
22   environmental services, namely, technical consultation in the fields of
23   environmental science.
24         9.     On January 11, 1999, PLAINTIFF registered the domain name
25   www.helixepi.com, and began using the domain name to advertise and promote its
26   services under and in connection with the HELIX ENVIRONMENTAL
27   PLANNING service mark and trade name.
28
     COMPLAINT FOR SERVICE MARK
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     DEMAND FOR JURY TRIAL                  3
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 1         10.       At least as early as 2002, PLAINTIFF has also been using its
 2   abbreviated mark HELIX ENVIRONMENTAL in commerce in connection with
 3   providing its services.
 4         11.       On January 31, 2012, PLAINTIFF began using its abbreviated mark
 5   HELIX ENVIRONMENTAL as the name on its twitter account (@HELIXepi).
 6         12.       The service mark and trade name HELIX ENVIRONMENTAL
 7   PLANNING has been in continuous use by PLAINTIFF since 1991.
 8         13.       The Internet domain www.helixepi.com has been in continuous use
 9   by PLAINTIFF since 1999.
10         14.       The abbreviated trade name HELIX ENVIRONMENTAL has been
11   in continuous use by PLAINTIFF since at least 2002.
12         15.       PLAINTIFF owns the HELIX ENVIRONMENTAL PLANNING
13   service mark and trade name, the www.helixepi.com domain name, and the
14   HELIX ENVIRONMENTAL twitter name dating back to 1991, 1999, and 2012,
15   respectively.
16         16.       PLAINTIFF has been continuously using the HELIX
17   ENVIRONMENTAL PLANNING service mark and trade name, the
18   www.helixepi.com domain name, and the abbreviated HELIX
19   ENVIRONMENTAL trade name dating back to 1991, 1999, and 2002,
20   respectively, in conjunction with its services.
21         17.       Due to PLAINTIFF’S longstanding and extensive use and advertising
22   of the HELIX ENVIRONMENTAL PLANNING service mark and trade name,
23   the HELIX ENVIRONMENTAL PLANNING service mark and trade name has
24   come to be and is now recognized and relied upon by the trade and public as
25   identifying and distinguishing the services and business reputation of
26   PLAINTIFF.
27
28
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     DEMAND FOR JURY TRIAL                   4
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 1         18.    The HELIX ENVIRONMENTAL PLANNING service mark and
 2   trade name is distinctive and represents the valuable goodwill and reputation
 3   belonging exclusively to PLAINTIFF.
 4         19.    Due to PLAINTIFF’S longstanding and extensive use and advertising
 5   of the abbreviated HELIX ENVIRONMENTAL service mark and trade name, the
 6   abbreviated HELIX ENVIRONMENTAL service mark and trade name has come
 7   to be and is now recognized and relied upon by the trade and public as identifying
 8   and distinguishing the services and business reputation of PLAINTIFF.
 9         20.    The abbreviated HELIX ENVIRONMENTAL service mark and trade
10   name is distinctive and represents the valuable goodwill and reputation belonging
11   exclusively to PLAINTIFF.
12         21.    On September 21, 2017, PLAINTIFF applied to register the service
13   mark HELIX ENVIRONMENTAL PLANNING with the United States Patent
14   and Trademark Office (“USPTO”), Application Serial No. 87/618,013.
15         22.    The HELIX ENVIRONMENTAL PLANNING federal service mark
16   registered on June 19, 2018, Registration No. 5,496,057 and PLAINTIFF is the
17   sole owner of the registration. Attached hereto as Exhibit A is a true and correct
18   copy of the registration.
19
20          DEFENDANT HELIX ENVIRONMENTAL AND STRATEGIC
21                           SOLUTIONS’ Wrongful Conduct
22
23         23.    Upon information and belief, DEFENDANT HELIX
24   ENVIRONMENTAL AND STRATEGIC SOLUTIONS first incorporated under
25   the laws of the State of California on February 8, 2016.
26         24.    On or after February 8, 2016, DEFENDANT began using the name
27   HELIX ENVIRONMENTAL in connection with advertising, offering, and
28   rendering environmental services in commerce.
     COMPLAINT FOR SERVICE MARK
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     DEMAND FOR JURY TRIAL                 5
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 1         25.   On or after February 8, 2016, DEFENDANT began using the domain
 2   name www.helixenvironmental.com in connection with advertising, offering, and
 3   rendering of its environmental consulting services.
 4         26.   Upon information and belief, DEFENDANT is in the business of
 5   advertising, offering, and rendering environmental services throughout southern
 6   California serving Los Angeles, Ventura, Kern, Riverside, San Diego and San
 7   Bernardino counties.
 8         27.   DEFENDANT’s use the term “HELIX ENVIRONMENTAL” and
 9   www.helixenvironmental.com domain name in connection with advertising,
10   offering, and rendering environmental services that are identical or confusingly
11   similar to the services advertised, offered, and rendered by PLAINTIFF under the
12   HELIX ENVIRONMENTAL PLANNING service mark and trade name.
13         28.   PLAINTIFF never consented to or authorized DEFENDANT’s use of
14   the term “HELIX ENVIRONMENTAL” or the domain name
15   www.helixenvironmental.com in connection with advertising, offering, and/or
16   rendering environmental services.
17         29.   DEFENDANT’s unauthorized use of the term “HELIX
18   ENVIRONMENTAL” and the domain name www.helixenvironmental.com in
19   connection with advertising, offering, and rendering environmental services is
20   likely to cause confusion as to whether DEFENDANT’S services and business
21   reputation originate from or are somehow sponsored or endorsed by or affiliated
22   with PLAINTIFF.
23         30.   The environmental services advertised, offered, and rendered by
24   DEFENDANT under and in connection with the term “HELIX
25   ENVIRONMENTAL” and the domain name www.helixenvironmental.com are
26   directed to the same or similar consumers of PLAINTIFF’S services, and through
27   the same or similar channels of trade as are used by PLAINTIFF to advertise,
28
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     DEMAND FOR JURY TRIAL                 6
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 1   offer, and render its services under and in connection with its HELIX
 2   ENVIRONMENTAL PLANNING service mark and trade name.
 3         31.    Upon information and belief, DEFENDANT’s use of the term
 4   “HELIX ENVIRONMENTAL” and the domain name
 5   www.helixenvironmental.com in connection with advertising, offering, and
 6   rendering environmental services is intentional, malicious, willful, and/or with
 7   reckless disregard for PLAINTIFF’s longstanding intellectual property rights in
 8   the HELIX ENVIRONMENTAL PLANNING service mark and trade name.
 9
10                             FIRST CAUSE OF ACTION
11           Service Mark Infringement in Violation of 15 U.S.C. §1114(1)
12
13         32.    PLAINTIFF incorporates herein by reference each and every
14   allegation in the preceding paragraphs.
15         33.    DEFENDANT had either actual or constructive knowledge of
16   PLAINTIFF’s, ownership and use of the HELIX ENVIRONMENTAL
17   PLANNING service mark long before DEFENDANT adopted and began using
18   the term “HELIX ENVIRONMENTAL” and the domain name
19   www.helixenvironmental.com, in connection with advertising, offering, and
20   rendering environmental services.
21         34.    DEFENDANT’s use of the term “HELIX ENVIRONMENTAL” and
22   in connection with advertising, offering, and rendering environmental services is
23   an attempt to trade off the goodwill, reputation, and rendering power established
24   by PLAINTIFF under the HELIX ENVIRONMENTAL PLANNING service
25   mark and trade name, and is an attempt to create a false impression of association
26   with PLAINTIFF.
27         35.    The services advertised, offered, and rendered by DEFENDANT
28   under and in connection with the term “HELIX ENVIRONMENTAL” and the
     COMPLAINT FOR SERVICE MARK
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     DEMAND FOR JURY TRIAL                 7
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 1   domain name www.helixenvironmental.com move through the same or similar
 2   channels of distribution and to the same or similar consumer groups as the
 3   services that are advertised, offered, and rendered by PLAINTIFF under and in
 4   connection with the HELIX ENVIRONMENTAL PLANNING service mark and
 5   trade name.
 6         36.     The services advertised, offered, and rendered by DEFENDANT
 7   under and in connection with the term “HELIX ENVIRONMENTAL” and the
 8   domain name www.helixenvironmental.com are inferior to the services that are
 9   offered and rendered by PLAINTIFF under and in connection with the HELIX
10   ENVIRONMENTAL PLANNING service mark and trade name.
11         37.     DEFENDANT’s continued unauthorized use of the term “HELIX
12   ENVIRONMENTAL” and the domain name www.helixenvironmental.com to
13   advertise, offer, and render environmental services is likely to cause consumers to
14   be confused as to the source, nature, and quality of services of DEFENDANT, and
15   likely to falsely indicate to consumers that their services originate from, or are in
16   some manner connected with, sponsored by, affiliated with, or related to
17   PLAINTIFF, and/or the services advertised, offered, and rendered by
18   PLAINTIFF.
19         38.     DEFENDANTS’ continued unauthorized use of the term “HELIX
20   ENVIRONMENTAL” and the domain name www.helixenvironmental.com to
21   advertise, offer, and render environmental services deprives PLAINTIFF of the
22   ability to control the quality of the services marketed under the HELIX
23   ENVIRONMENTAL PLANNING service mark and trade name, and instead,
24   places PLAINTIFF’s valuable reputation and goodwill into the hands of
25   DEFENDANT, over whom PLAINTIFF has no control.
26         39.     DEFENDANT’s continued unauthorized use of the term “HELIX
27   ENVIRONMENTAL” and the domain name www.helixenvironmental.com to
28   advertise, offer, and render environmental services dilutes PLAINTIFF’s rights in
     COMPLAINT FOR SERVICE MARK
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     DEMAND FOR JURY TRIAL                   8
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 1   its valuable trade name, and is likely to cause confusion or mistake or to deceive
 2   consumers or potential consumers wishing to purchase PLAINTIFF’s services and
 3   is also likely to confuse consumers as to an affiliation between PLAINTIFF and
 4   DEFENDANT.
 5           40.   DEFENDANT’s conduct alleged herein constitutes federal trademark
 6   infringement in violation of Section 1114(1) of the Lanham Act, 15 U.S.C. §
 7   1114.
 8           41.   PLAINTIFF has been, is now being, and will continue to be, harmed
 9   irreparably by DEFENDANT’s infringing conduct alleged herein, and unless
10   enjoined by the Court, DEFENDANT will continue to infringe upon the HELIX
11   ENVIRONMENTAL PLANNING service mark.
12           42.   There is no adequate remedy at law for the harm caused by
13   DEFENDANT’s acts of infringement alleged herein.
14           43.   As a direct and proximate result of DEFENDANT’s infringing
15   conduct, PLAINTIFF has suffered, is suffering, and will continue to suffer
16   irreparable injury to its business reputation and goodwill for which no adequate
17   remedy exists at law.
18           44.   Upon learning of DEFENDANT’s infringing conduct, PLAINTIFF
19   through counsel contacted DEFENDANT, notified DEFENDANT of
20   PLAINTIFF’s service mark, and requested DEFENDANT cease its infringing
21   conduct. DEFENDANT refused.
22           45.   Upon information and belief, DEFENDANT’s infringing conduct
23   alleged herein is knowing, willful, and deliberate, entitling PLAINTIFF to an
24   accounting of any of DEFENDANT’s profits, increased damages, and an award of
25   its attorneys’ fees and costs incurred in prosecuting this action under Section 1117
26   of the Lanham Act, 15 U.S.C. § 1117.
27
28
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  1                            SECOND CAUSE OF ACTION
  2    Service Mark and Trade Name Infringement, Unfair Competition, Passing
  3             Off, and False Designation of Origin under 15 U.S.C. §1125(a)
  4
  5         46.     PLAINTIFF incorporates herein by reference each and every
  6   allegation in the preceding paragraphs.
  7         47.     The HELIX ENVIRONMENTAL PLANNING service mark and
  8   trade name is distinctive and through 27 years of continuous use, has achieved
  9   secondary meaning whereby it has come to be and is now recognized and relied
 10   upon by the trade and public as a symbol of excellence and valuable goodwill,
 11   effectively identifying the services and business reputation of PLAINTIFF as a
 12   whole, and distinguishing the services and business of PLAINTIFF from
 13   competing services and businesses.
 14         48.     DEFENDANT’s use of the term “HELIX ENVIRONMENTAL” and
 15   the domain name www.helixenvironmental.com in commerce is likely to cause
 16   confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
 17   association of DEFENDANT with PLAINTIFF, or as to the origin, sponsorship,
 18   or approval of DEFENDANT’s services or commercial activities by another
 19   person.
 20         49.     Upon information and belief, DEFENDANT chose to use the term
 21   “HELIX ENVIRONMENTAL” and the www.helixenvironmental.com domain
 22   name in connection with advertising, offering, and rendering environmental
 23   services to cause consumer confusion or mistake, or to deceive the public as to the
 24   origin, sponsorship, association, or approval of their services and business
 25   reputation, deliberately to pass off their services and business reputation as those
 26   rendered by and associated with PLAINTIFF, and/or to false imply an association
 27   with the valuable goodwill and established business reputation of PLAINTIFF.
 28
      COMPLAINT FOR SERVICE MARK
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      DEMAND FOR JURY TRIAL                  10
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  1           50.   DEFENDANT’s conduct alleged herein constitutes, among other
  2   things, false designation of origin, which is likely to cause confusion or mistake,
  3   or to deceive the public as to the origin, sponsorship, association, or approval of
  4   the services and business reputation of DEFENDANT by PLAINTIFF.
  5           51.   PLAINTIFF believes that it has been damaged and is likely to
  6   continue to be damaged as a result of DEFENDANT’s use of the term “HELIX
  7   ENVIRONMENTAL” and the domain name www.helixenvironmental.com as
  8   alleged herein.
  9           52.   DEFENDANT’s conduct constitutes service mark and trade name
 10   infringement and unfair competition in violation of Section 1125(a) of the
 11   Lanham Act, 15 U.S.C. §1125(a).
 12           53.   PLAINTIFF has been, is now, and will continue to be harmed
 13   irreparably by DEFENDANT’s conduct alleged herein, and unless enjoined by the
 14   Court, DEFENDANT will continue to infringe upon the HELIX
 15   ENVIRONMENTAL PLANNING service mark and trade name.
 16           54.   There is no adequate remedy at law for the harm caused by
 17   DEFENDANT’s acts of infringement alleged herein.
 18           55.   As a direct and proximate result of DEFENDANT’s conduct alleged
 19   herein, PLAINTIFF has suffered, is suffering, and will continue to suffer
 20   irreparable injury to its business reputation and goodwill for which no adequate
 21   remedy exists at law.
 22           56.   DEFENDANT’ conduct alleged herein is knowing, willful, and
 23   deliberate, entitling PLAINTIFF to an accounting of any of DEFENDANT’s
 24   profits, increased damages, and an award of its attorneys’ fees and costs incurred
 25   in prosecuting this action under Section 1117 of the Lanham Act, 15 U.S.C. §
 26   1117.
 27
 28
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      DEMAND FOR JURY TRIAL                  11
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  1                             THIRD CAUSE OF ACTION
  2         Cybersquatting in Violation of The Anticybersquatting Consumer
  3                      Protection Act (ACPA) 15 U.S.C. §1125(d)
  4
  5         57.    PLAINTIFF incorporates herein by reference each and every
  6   allegation in the preceding paragraphs.
  7         58.    DEFENDANT’s registration and use of the domain name
  8   www.helixenvironmental.com is confusingly similar to PLAINTIFF’s HELIX
  9   ENVIRONMENTAL PLANNING service mark, and except for the omitted term
 10   “planning,” is identical to PLAINTIFF’s service mark.
 11         59.    DEFENDANT has registered, trafficked in, used, and/or is using the
 12   domain name www.helixenvironmental.com to advertise, offer, and render
 13   services that directly compete with the services that are advertised, offered, and
 14   rendered by PLAINTIFF under and in connection with PLAINTIFF’s HELIX
 15   ENVIRONMENTAL PLANNING service mark.
 16         60.    PLAINTIFF’s HELIX ENVIRONMENTAL PLANNING service
 17   mark is widely recognized by the general consuming public of the United States
 18   as a designation of source of the services of PLAINTIFF and was distinctive at the
 19   time of the registration of the domain name www.helixenvironmental.com by
 20   DEFENDANT.
 21         61.    DEFENDANT has registered, trafficked in, used, and/or is using the
 22   domain name www.helixenvironmental.com to divert consumers searching for
 23   PLAINTIFF and to create a likelihood of confusion as to the source, sponsorship,
 24   affiliation, and/or endorsement of the domain name
 25   www.helixenvironmental.com.
 26         62.    DEFENDANT has registered, trafficked in, used, and/or is using the
 27   domain name www.helixenvironmental.com in bad faith and with the intent to
 28
      COMPLAINT FOR SERVICE MARK
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  1   profit from the goodwill reputation and rendering power established by
  2   PLAINTIFF under the HELIX ENVIRONMENTAL PLANNING service mark.
  3         63.    DEFENDANT’s conduct constitutes cybersquatting in violation of
  4   the AntiCyberSquatting Consumer Protection Act (ACPA), Section 43(d) of the
  5   Lanham Act, 15 U.S.C. §1125(d).
  6         64.    PLAINTIFF has been, is now being, and will continue to be harmed
  7   irreparably by DEFENDANT’s conduct alleged herein, and unless enjoined by the
  8   Court, DEFENDANT’s unauthorized and bad faith use of the domain name
  9   www.helixenvironmental.com will continue.
 10         65.    There is no adequate remedy at law for the harm caused by
 11   DEFENDANT’s conduct alleged herein.
 12
 13                            FOURTH CAUSE OF ACTION
 14    Unfair, Unlawful, and Deceptive Business Practices in Violation of Cal. Bus.
 15                              & Prof. Code § 17200 et seq.
 16
 17         66.    PLAINTIFF incorporates herein by reference each and every
 18   allegation in the preceding paragraphs.
 19         67.    DEFENDANT’s conduct alleged herein is unfair and offends public
 20   policy as it is unlawful, unfair, unscrupulous, and substantially injurious to
 21   PLAINTIFF and consumers.
 22         68.    DEFENDANT’s conduct alleged herein constitutes unfair
 23   competition and unfair business practices in violation of Section 17200 et seq. of
 24   California’s Business & Professions Code.
 25         69.    PLAINTIFF has been, is now being, and will continue to be harmed
 26   irreparably by DEFENDANT’s conduct alleged herein, and unless enjoined by the
 27   Court, DEFENDANT’s unfair, unlawful, and deceptive practices will continue.
 28
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  1         70.    There is no adequate remedy at law for the harm caused by
  2   DEFENDANT’s conduct alleged herein.
  3         71.    PLAINTIFF is entitled to injunctive relief prohibiting DEFENDANT
  4   from continuing these unfair, unlawful, and deceptive practices as alleged herein
  5   under Section 17203 of California’s Business & Professions Code.
  6
  7                             FIFTH CAUSE OF ACTION
  8     Service Mark and Trade Name Infringement and Unfair Competition in
  9                        Violation of California Common Law
 10
 11         72.    PLAINTIFF incorporates herein by reference each and every
 12   allegation in the preceding paragraphs.
 13         73.    PLAINTIFF’s HELIX ENVIRONMENTAL PLANNING service
 14   mark and trade name is distinctive and has achieved secondary meaning whereby
 15   it has come to be and is now recognized and relied upon by the trade and public as
 16   identifying the services and business reputation of PLAINTIFF.
 17         74.    PLAINTIFF’s abbreviated HELIX ENVIRONMENTAL service
 18   mark and trade name is distinctive and has achieved secondary meaning whereby
 19   it has come to be and is now recognized and relied upon by the trade and public as
 20   identifying the services and business reputation of PLAINTIFF.
 21         75.    DEFENDANT chose to use the term “HELIX ENVIRONMENTAL”
 22   and the domain name www.helixenvironmental.com in connection with
 23   advertising, offering, and rendering environmental services to cause consumer
 24   confusion or mistake, or to deceive the public as to the origin, sponsorship,
 25   association, or approval of their services and business reputation by PLAINTIFF,
 26   deliberately to pass of their services and business reputation as those rendered by
 27   and associated with PLAINTIFF, and/or to false imply an association with the
 28   valuable goodwill and established business reputation of PLAINTIFF.
      COMPLAINT FOR SERVICE MARK
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  1         76.    DEFENDANT’s conduct alleged herein has caused, is causing, and is
  2   likely to continue to cause confusion or mistake, or to deceive the public as to the
  3   origin, sponsorship, association, or approval of the services of DEFENDANT by
  4   PLAINTIFF.
  5         77.    DEFENDANT’s conduct constitutes service mark and trade name
  6   infringement and unfair competition in violation of California common law.
  7         78.    PLAINTIFF has been, is now, and will be harmed irreparably by
  8   DEFENDANT’s infringing conduct alleged herein, and unless enjoined by the
  9   Court, DEFENDANT will continue to infringe upon the HELIX
 10   ENVIRONMENTAL PLANNING service mark and trade name.
 11         79.    PLAINTIFF has been, is now, and will be harmed irreparably by
 12   DEFENDANT’s infringing conduct alleged herein, and unless enjoined by the
 13   Court, DEFENDANT will continue to infringe upon the abbreviated HELIX
 14   ENVIRONMENTAL service mark and trade name
 15         80.    There is no adequate remedy at law for the harm caused by
 16   DEFENDANT’s acts of infringement alleged herein.
 17         81.    As a direct and proximate result of DEFENDANT’s conduct alleged
 18   herein, PLAINTIFF has suffered, is suffering, and will continue to suffer
 19   irreparable injury to its business reputation and goodwill for which no adequate
 20   remedy exists at law.
 21         82.    Upon information and belief, DEFENDANT’s conduct alleged herein
 22   is knowing, willful, and deliberate, entitling PLAINTIFF to recover punitive
 23   damages under Section 3294 of the California Civil Code.
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      COMPLAINT FOR SERVICE MARK
      INFRINGEMENT AND OTHER CLAIMS AND
      DEMAND FOR JURY TRIAL                 15
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  1                                PRAYER FOR RELIEF
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  3         WHEREFORE, PLAINTIFF HELIX ENVIRONMENTAL PLANNING,
  4   INC. prays for judgment and relief against DEFENDANT HELIX
  5   ENVIRONMENTAL AND STRATEGIC SOLUTIONS as follows:
  6         (a)    For a judgment that PLAINTIFF’S HELIX ENVIRONMENTAL
  7   PLANNING service mark has been and continues to be infringed by
  8   DEFENDANT in violation of 15 U.S.C. § 1114(1);
  9         (a)    For a judgment that DEFENDANT’S use of the term “HELIX
 10   ENVIRONMENTAL” and the domain name www.helixenvironmental.com
 11   constitutes federal unfair competition in violation of 15 U.S.C. § 1125(a);
 12         (b)    For a judgment that DEFENDANT’S use of the term “HELIX
 13   ENVIRONMENTAL” and www.helixenvironmental .com domain name
 14   constitutes California common law trademark infringement;
 15         (c)    For a judgment that DEFENDANT has committed cybersquatting in
 16   violation of 15 U.S.C. § 1125(d);
 17         (e)    For a judgment that DEFENDANT’s use of the term “HELIX
 18   ENVIRONMENTAL” and www.helixenvironmental .com domain name
 19   constitutes unfair competition in violation of §§ 17200 et seq. of California’s
 20   Business and Professions Code;
 21         (f)    For a permanent injunction forever enjoining and restraining
 22   DEFENDANT and each of its agents, employees, officers, attorneys, successors,
 23   assigns, affiliates and any persons in privity or active concert or participation with
 24   any of them from using the term “HELIX ENVIRONMENTAL” with or without
 25   its accompanying logo, and the domain name www.helixenvironmental.com, or
 26   any other words, phrases, symbols, logos, or combination of words or symbols
 27   that would create a likelihood of confusion, mistake and/or deception with the
 28
      COMPLAINT FOR SERVICE MARK
      INFRINGEMENT AND OTHER CLAIMS AND
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  1   HELIX ENVIRONMENTAL PLANNING service mark and trade name, in
  2   connection with environmental services;
  3         (g)     Pursuant to 15 U.S.C. § 1118, for a judgment requiring that
  4   DEFENDANT and all others acting under DEFENDANT’S authority, at their
  5   cost, be required to deliver up and destroy all devices, literature, advertising,
  6   labels and other material in their possession bearing the designation “HELIX
  7   ENVIRONMENTAL” or “www.helixenvironmental.com;”
  8         (h)     Pursuant to 15 U.S.C. § 1116(a), for a judgment directing
  9   DEFENDANT to file with the Court and serve on PLAINTIFF within thirty (30)
 10   days after issuance of an injunction, a report in writing and under oath setting
 11   forth in detail the manner and form in which DEFENDANT has complied with the
 12   injunction;
 13         (i)     For a declaration, adjudication and decree that PLAINTIFF is the
 14   sole legal and equitable owner of the domain name www.helixenvironmental.com
 15   and requiring DEFENDANT to transfer ownership of the domain name to
 16   PLAINTIFF;
 17         (j)     For a judgment awarding all actual damages sustained by
 18   PLAINTIFF as the result of DEFENDANT’s conduct of infringement, together
 19   with prejudgment interest, according to proof, under 15 U.S.C. § 1117;
 20         (k)     For a judgment requiring an accounting of DEFENDANT’s profits
 21   resulting from their conduct of infringement under 15 U.S.C. § 1117;
 22         (l)     For a judgment awarding to PLAINTIFF all profits received by
 23   DEFENDANT from sales and revenues of any kind made as a result of its
 24   infringing actions, after the accounting;
 25         (m)     For a judgment awarding to PLAINTIFF treble actual damages and
 26   profits pursuant to 15 U.S.C. § 11117(b) on the grounds that DEFENDANT’s
 27   continued conduct of infringement has been willful within the meaning of the
 28   Lanham Act;
      COMPLAINT FOR SERVICE MARK
      INFRINGEMENT AND OTHER CLAIMS AND
      DEMAND FOR JURY TRIAL                  17
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  1         (n)     For a judgment awarding to PLAINTIFF its actual damages resulting
  2   from DEFENDANT’s violation of 15 U.S.C. § 1125(d) in an amount to be proven
  3   at trial or in the alternative statutory damages of $100,000 per domain name, as
  4   elected by PLAINTIFF;
  5         (o)     For a judgment awarding to PLAINTIFF its attorneys’ fees, and
  6   litigation costs and expenses, under 15 U.S.C. § 1117 or as otherwise permitted by
  7   law because of the exceptional nature of this case resulting from DEFENDANT’S
  8   deliberate infringing actions;
  9         (p)     For a judgment awarding to PLAINTIFF its damages for
 10   DEFENDANT’S common law service mark and trade name infringement under
 11   California’s common law; and
 12         (q)     For such additional, other, or further relief as the Court deems just
 13   and proper.
 14
 15   Dated: August 27, 2018                      EASTMAN & McCARTNEY, LLP
 16
 17
 18                                               By: _/s/ Gary L. Eastman_________
                                                    Gary L. Eastman, Esq.
 19                                                 Attorney for Plaintiff
 20                                                 PLAINTIFF HELIX
                                                    ENVIRONMENTAL PLANNING,
 21
                                                    INC.
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 28
      COMPLAINT FOR SERVICE MARK
      INFRINGEMENT AND OTHER CLAIMS AND
      DEMAND FOR JURY TRIAL                  18
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  1                            DEMAND FOR JURY TRIAL
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  3          PLAINTIFF HELIX ENVIRONMENTAL PLANNING, INC. hereby
  4   demands a trial by the jury on its claims herein and all issues and claims so triable
  5   in this action.
  6
  7   Dated: August 27, 2018                      EASTMAN & McCARTNEY, LLP
  8
  9
                                                  By: _/s/ Gary L. Eastman_________
 10                                                 Gary L. Eastman, Esq.
 11                                                 Attorney for Plaintiff
                                                    PLAINTIFF HELIX
 12
                                                    ENVIRONMENTAL PLANNING,
 13                                                 INC.
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      COMPLAINT FOR SERVICE MARK
      INFRINGEMENT AND OTHER CLAIMS AND
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  1                             EXHIBIT A
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      COMPLAINT FOR SERVICE MARK
      INFRINGEMENT AND OTHER CLAIMS AND
      DEMAND FOR JURY TRIAL               20
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                               Helix Environmental
                                     Planning
Reg. No. 5,496,057                 Helix Environmental Planning, Inc. (CALIFORNIA CORPORATION)
                                   7578 El Cajon Blvd.
Registered Jun. 19, 2018           La Mesa, CALIFORNIA 91942

                                   CLASS 35 : Business consulting in the field of environmental management, namely, advising
Int. Cl. : 35, 42                  businesses and individuals in issues of environmental impact, conservation, preservation and
                                   protection
Service Mark
                                   FIRST USE 10-7-1991; IN COMMERCE 10-7-1991
Principal Register
                                   CLASS 42: Environmental services, namely, technical consultation m the fields of
                                   environmental science

                                   FIRST USE 10-7-1991 ; IN COMMERCE 10-7-1991

                                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                   PARTICULAR FONT STYLE, SIZE OR COLOR

                                   No claim is made to the exclusive right to use the following apart from the mark as shown:
                                   "ENVIRONMENTAL PLANNING"

                                   SER. NO. 87-618,013, FILED 09-21-2017




   Director of the United States
   Patent and Trademark Office
